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                                               October 15, 2024

BY ECF
Hon. Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

         Re:     United States v. Combs, 24-cr-542 (AS)

Dear Judge Subramanian:

       We write on behalf of our client, Mr. Sean Combs, pursuant to Federal Rule of Criminal
Procedure 7(f), to request that the Court direct the government to identify its alleged victims so
that Mr. Combs can prepare for trial and to allow defense counsel to ensure compliance with Local
Rule 23.1.1

    I.         Background

        This case is unique, in part because of the number of individuals levying allegations against
Mr. Combs due to his celebrity status, wealth, and the publicity of his previously settled lawsuit
and the grand jury leaks and false inflammatory statements by the DHS agents, as outlined in our
previous motion. See ECF Nos. 30-32. This has had a pervasive ripple effect, resulting in a torrent
of allegations by unidentified complainants, spanning from the false to outright absurd. Yesterday
alone, anonymous accusers filed an additional six lawsuits.2 Counsel for these accusers recently
convened a press conference (prior to filing) at which he claimed to represent 120 accusers making
outrageous and deeply prejudicial allegations, including violent sexual assault and sexual abuse of
minors.3 This publicity stunt, broadcast on Instagram, included a “1-800” number that reportedly
received 12,000 calls in the first 24 hours. 4 These accusations came on the heels of more than a

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 We respectfully move for a bill of particulars under Rule 7(f) without prejudice to our ability to make additional
motions for a bill of particulars with respect to other deficiencies in the Indictment.
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  Jane Doe v. Combs, et al., 24-cv-7769 (S.D.N.Y.) (filed October 14, 2024); John Doe v. Combs, 24-cv-7772
(S.D.N.Y.) (filed October 14, 2024); John Doe v. Combs, et al., 24-cv-7774 (S.D.N.Y.) (filed October 14, 2024); John
Doe v. Combs, et al., 24-cv-7776 (S.D.N.Y.) (filed October 14, 2024); Jane Doe v. Combs, et al., 24-cv-7777
(S.D.N.Y.) (filed October 14, 2024). These allegations were all brought on behalf of unidentified plaintiffs, whose
allegations date back to the mid-90s.
3
 See, e.g., Chloe Melas & Antonio Planas, Sean ‘Diddy’ Combs hit with a wave of 120 new sexual assault allegations,
NBC News (Oct. 1, 2024), https://www.nbcnews.com/news/crime-courts/sean-diddy-combs-hit-wave-120-new-
sexual-assault-allegations-rcna173474.
4
 Emily Crane, Sean ‘Diddy’ Combs hotline gets staggering 12K calls in just 24 hours, lawyer claims, N.Y. Post (Oct.
4, 2024), https://nypost.com/2024/10/04/entertainment/diddy-combs-hotline-gets-12k-calls-in-one-day-lawyer-
claims/.
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dozen lawsuits previously filed and currently pending, several of which have already been
discredited but only after irreparably damaging Mr. Combs’ character and reputation. 5 These
swirling allegations have created a hysterical media circus that, if left unchecked, will irreparably
deprive Mr. Combs of a fair trial, if they haven’t already.

       In light of the number and anonymity of accusers, on October 7, 2024, Mr. Combs asked
the government to identify its alleged victims. See Exh. 1. Counsel has conferred with the
government, who opposes disclosure of alleged victims’ names at this stage.

    II.      The Court Should Require the Government to Identify its Alleged Victims

         Bills of particulars are appropriate to permit a defendant “to identify with sufficient
particularity the nature of the charge pending against him, thereby enabling defendant to prepare
for trial, to prevent surprise, and to interpose a plea of double jeopardy should he be prosecuted a
second time for the same offense.” United States v. Davidoff, 845 F.2d 1151, 1154 (2d Cir. 1988)
(quoting United States v. Bortnovsky, 820 F.2d 572, 574 (2d Cir. 1987)). These principles are
applied with particular care when the government charges RICO, as it has here. See id. As the
Second Circuit explained: “With the wide latitude accorded the prosecution to frame a charge that
a defendant has ‘conspired’ to promote the affairs of an ‘enterprise’ through a ‘pattern of
racketeering activity’ comes an obligation to particularize the nature of the charge to a degree that
might not be necessary in the prosecution of crimes of more limited scope.” Id. With these
principles in mind, the Circuit held in Davidoff that, where the government failed to identify the
victims of uncharged schemes that it intended to include at trial, the district court committed
reversible error by failing to grant a bill of particulars. See id.

        Here, the Indictment broadly alleges that, “[f]or decades,” Mr. Combs “abused, threatened,
and coerced” undisclosed and unidentified “women and others around him to fulfill his sexual
desires,” ECF No. 2 ¶ 1, and that he engaged in a “persistent and pervasive pattern of abuse toward
women and other individuals,” including “verbal, emotional, physical, and sexual” abuse, and
“manipulat[ing] women” to participate in sexual activity. Id. ¶ 3. This could be interpreted as



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  Several of these claims have already been discredited. For example, the attorneys for one plaintiff recently filed a
Motion to Withdraw as Counsel of Record, citing, among other things, the plaintiff’s “questionable antics” and “a
fundamental disagreement” with plaintiff “regarding almost every aspect of the litigation.” Mem. of Law in Support
of Mot. to Withdraw as Counsel of Record at 6-7, English v. Combs et al., No. 24-cv-05090-AT (S.D.N.Y. Oct. 2,
2024). Shortly after the filing of a different civil action, Graves v. Combs et al., No. 24-cv-07201 (S.D.N.Y. Sept. 24,
2024), the accuser’s ex-boyfriend came forward with reports that the accuser had tried bribe him $3 million to
corroborate her allegations and had told him she was suing Mr. Combs “Because he’s the one that has the money.”
Marc Griffin, Diddy Accuser’s Ex-Boyfriend Claims He was Bribed to Corroborate Her Story (Oct. 9, 2024),
https://www.vibe.com/news/entertainment/diddy-accuser-ex-boyfriend-bribed-thalia-graves-1234930949/.
Additionally, the attorney representing plaintiffs in four separate suits against Mr. Combs was recently referred to this
Court’s Grievance Committee for engaging in a “pattern” of “improperly fil[ing] cases in federal court to garner media
attention, embarrass defendants with salacious allegations, and pressure defendants to settle quickly.” Zunzurovski v.
Fisher, No. 23 Civ. 10881, 2024 WL 1434076, at *5 (S.D.N.Y. Apr. 3, 2024).

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treating Mr. Combs’ entire sexual history over the past sixteen years as part of the alleged criminal
conspiracy.

       The government should be required to identify its alleged victims for several reasons.

        First, without clarity from the government, Mr. Combs has no way of knowing which
allegations the government is relying on for purposes of the Indictment. Other than Victim-1, there
is no way for Mr. Combs to determine who the other unidentified alleged victims are. The number
of potential alleged victims and the length of time alleged in the Indictment both weigh in favor of
a bill of particulars. See United States v. Nachamie, 91 F. Supp. 2d 565, 572 (S.D.N.Y. 2000)
(ordering bill of particulars for names of unindicted co-conspirators where there was “a large
number of co-conspirators (eight defendants and an unknown number of unindicted co-
conspirators) and the alleged conspiracy has operated for a significant period of time (more than
three years).”). Moreover, to the extent Mr. Combs is forced to mount a defense against criminal
allegations that the government does not seek to prove at trial, he is entitled to know that. See
Bortnovsky, 820 F.2d at 574 (explaining that, where government failed to identify which alleged
claims were deemed fake, defendants were “hindered in preparing their defense” and forced to
defend all claims, even those that the government were “uncertain were fake”). Absent a bill of
particulars, the government is forcing him, unfairly, to play a guessing a game—one made all the
more challenging by the onslaught of baseless allegations that desperate plaintiffs are lodging at
him (for the most part anonymously) in civil suits designed to exact a payoff from Mr. Combs and
others.

         Second, given the anticipated amount of discovery and the expected time required for its
production, Mr. Combs will be unable to adduce the identities of the purported victims from the
discovery without the assistance of the government. Mr. Combs also anticipates that the discovery
will contain voluminous evidence of consensual sexual activity – making it all the more difficult
for Mr. Combs to ascertain which of his prior sexual partners now claim, years later, that they felt
coerced. Even if it were possible to ascertain the victims’ identity from the discovery, and
especially given the volume of anticipated discovery, it is unfair to require Mr. Combs to spend
significant time trying to unearth the alleged victims’ identities. See Bortnovsky, 820 F.2d at 575
(“The Government d[oes] not fulfill its obligation merely by providing mountains of documents
to defense counsel[,] who [a]re left unguided as to which documents [the Government will use at
trial].”).

        Third, the publicity of these allegations in civil suits seriously undermine Mr. Combs’ right
to a fair trial. The attorneys and plaintiffs making these allegations are not bound by Local Rule
23.1 and can therefore make (and have made) limitless and unchallenged statements to the press.
Mr. Combs’ denials, on the other hand, are constrained by Rule 23.1 because he does not know
which allegations are credited by the government and thus come within the ambit of the Local
Rule. Under the circumstances, the Court should require disclosure of the government’s alleged
victims and allow Mr. Combs to respond to allegations of other, uncredited and unrelated accusers.
See United States v. Ming He, 94 F.3d 782, 792 (2d Cir. 1996) (court can use its supervisory
authority to assure that “fair standards of procedure are maintained”).

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      We appreciate the Court’s consideration.

 Dated: October 15, 2024                   Respectfully submitted,


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                                           Marc Agnifilo
                                           Teny Geragos
                                           Agnifilo Intrater LLP
                                           445 Park Ave., 77th Fl.
                                           New York, NY 10022
                                           646-205-4350
                                           marc@agilawgroup.com
                                           teny@agilawgroup.com

                                           Anthony Ricco
                                           Law Office of Anthony L. Ricco
                                           20 Vesey Street
                                           New York, NY 10007
                                           (212) 791-3919
                                           (212) 791-3940
                                           tonyricco@aol.com

                                           Alexandra Shapiro
                                           Shapiro Arato Bach LLP
                                           1140 Avenue of the Americas, 17th Fl.
                                           New York, NY 10036
                                           (212) 257-4881
                                           ashapiro@shapiroarato.com

                                           Anna Estevao
                                           SHER TREMONTE LLP
                                           90 Broad St., 23rd Fl.
                                           New York, NY 10004
                                           (212) 202-2600
                                           aestevao@shertremonte.com


cc:   All counsel (by ECF)




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